8:07-cr-00030-RFR-MDN       Doc # 141     Filed: 08/18/08    Page 1 of 1 - Page ID # 559




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:07CR30
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
THIRUGNANAM RAMANATHAN,                     )
                                            )
             Defendant.                     )


      This matter is before the Court on the Defendant’s motion to extend the deadline

to object to the PSR (Filing No. 134). The objections have been filed.

      IT IS ORDERED that the Defendant’s motion to extend the deadline to object to the

PSR (Filing No. 134) is granted.

      DATED this 18th day of August, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
